                             Case 1:19-mj-10987-UA Document 6 Filed 12/26/19 Page 1 of 1
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DOCKET No. -=-1=9m=ag=l:....::0_:;_9.::...87=----------                   DEFENDANT~V-=-ir=g=il~G=r=if=ft=th"-------------


AUSA Kimberly Ravener                                                     DEF.' S COUNSEL . ,_S'""'e...
                                                                                                    an..._B""'--""uc.....k""le"-'y'----=------------
                                                                          lll RETAINED    •   FEDERAL DEFENDERS       O CJA O PRESENTMENT ONLY
• ________ INTERPRETER NEEDED
                                                                                      •   DEFENDANT WAIVES PRETRIAL REPORT

Ill Rule 5 D Rule 9 D Rule 5(c)(3) D Detention Hrg.                           DATE OF ARREST I 2/23/J 9                          •   VOL. SURR.
                                                                              TIME OF ARREST 5nm in C Q Cal                      •   ON WRIT
D Other: - - - - - - -- - - - -- - -                                          TIME OF PRESENTMENT 3 ·47nm


                                                                 BAIL DISPOSITION
                                                                                     • SEE SEP. ORDER
• DETENTION ON CONSENT W/O PREJUDICE            Ill DETENTION: RISK OF FLIGHT/DANGER Ill SEE TRANSCRJPT
•• DETENTION   HEARING SCHEDULED FOR:
   AGREED CONDITIONS OF RELEASE         - - - -- - - --
 • DEF. RELEASED ON OWN RECOGNIZANCE
 • $_ _ __ _ PRB O _ __ FRP
 • SECURED BY$ _ __ _ _ _ CASH/PROPERTY: _ _ _ _ __ _ _ __ _ _ _ _ _ _ _ _ _ __
 • TRAVEL RESTRICTED TO SDNY/EDNY/- - - - - - -- - -- - -- - - - - - - - - - - - -
 • TEMPORARY ADDITIONAL TRAVEL UPON      CONSENT OF AUSA & APPROVAL OF PRETRIAL SERVICES
 • SURRENDER TRAVEL DOCUMENTS (& NO NEW APPLICATIONS)
 • PRETRIAL SUPERVISION: • REGULAR • STRICT • AS DIRECTED BY PRETRIAL SERVICES
 • DRUG TESTING/TREATMT AS DIRECTED BY PTS • MENTAL HEALTH EVAL/TREATMT AS DIRECTED BY PIS
 • DEF. TO SUBMIT TO URINALYSIS; IF POSITIVE, ADD CONDITION OF DRUG TESTING/TREATMENT
 • HOME INCARCERATION • HOME DETENTION • CURFEW • ELECTRONIC MONITORING • GPS
 • DEF. TO PAY ALL OF PART OF COST OF LOCATION MONITORING, AS DETERMINED BY PRETRIAL SERVICES
 • DEF. TO CONTINUE OR SEEK EMPLOYMENT [OR] • DEF.TO CONTINUE OR START EDUCATION PROGRAM
 • DEF. NOT TO POSSESS FIREARM/DESTRUCTIVE DEVICE/OTHER WEAPON
 • DEF. TO BE DETAINED UNTIL ALL CONDITIONS ARE MET
 • DEF.TO BE RELEASED ON OWN SIGNATURE, PLUS THE FOLLOWING CONDITIONS : _ _ _ __ _ _ _ __
_ __ _ _ _ _ _ __ _ _ _ _ _ _ __ _ _ ; REMAINING CONDITIONS TO BE MET BY: _ _ _ __

ADDITIONAL CONDITIONS/ADDITIONAL PROCEEDINGS/COMMENTS:

Detained: risk of flight.




• DEF. ARRAIGNED; PLEADS NOT GUILTY                          • CONFERENCE BEFORE D.J. ON _ _ _ _ __
• DEF. WAIVES INDICTMENT
• SPEEDY TRIAL TIME EXCLUDED UNDER 18 U .S.C. § 3161 (h)(7) UNTIL _ _ _ _ __
For Rule 5(c)(3) Cases:
• IDENTITY HEARING WAIVED                                             • DEFENDANT TO BE REMOVED
• PRELIMINARY HEARING IN SDNY WAIVED                                  • CONTROL DATE FOR REMOVAL: - - -- --
PRELIMINARY HEARING DATE: ~l /~9~/2~0_ __ _                               • ONDEFE
DATE: 12/26/19

~        (ori gina l) - COURT FILE   .elli.K - U.S. ATTORNEY' S OFFI CE         Y£LLillY - U.S. MA RSHAL         QRfilili - PRETR IAL SERV ICES AGENCY
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